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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
IN RE:

ERIC MICHAEL PYSHER AND
STEPHANIE LYNN PYSHER
                                                                       CASE NO. 6:19-bk-03320-KSJ
                                                                       CHAPTER 7
Debtor(s).
_________________________________/

                         NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or
hearing unless a party in interest files a response within twenty-one (21) days from the date set forth on the attached
proof of service, plus an additional three (3) days for service if any party was served by U.S. Mail.
If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at 400 West
Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the movant’s attorney, Alejandro
Martinez-Maldonado, Esq., EXL LEGAL, PLLC, 12425 28th Street North, Suite 200, St. Petersburg, FL 33716, and
any other appropriate persons within the time allowed. If you file and serve a response within the time permitted, the
Court will either schedule and notify you of a hearing, or consider the response and grant or deny the relief
requested without a hearing.
If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief
requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief
requested.

                    AMENDED MOTION CONFIRMING NO AUTOMATIC STAY
                                Property Being Surrendered
                             (Amended to correct negative notice)

                 COMES NOW Movant, WELLS FARGO BANK, N.A., a secured creditor, by and
         through its undersigned counsel, and respectfully moves this court pursuant to 11 U.S.C.
         §362(c) of the Bankruptcy Code for an order confirming that no automatic stay is in effect, and
         states as follows::
             1. This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP
         4001(a) and the various other applicable provision of the United States Bankruptcy Code,
         Federal Rules of Bankruptcy Procedures
             2. On May 20, 2019, ERIC MICHAEL PYSHER and STEPHANIE LYNN PYSHER,
         ("Debtor") filed a petition for relief under the Bankruptcy Code.
             3. Debtor(s) ERIC M PYSHER, executed a promissory note secured by a mortgage or deed
         of trust. The promissory note is either made payable to Creditor or has been duly indorsed.



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     Creditor, directly or through an agent, has possession of the promissory note. Creditor is the
     original mortgagee or beneficiary or the assignee of the mortgage of deed of trust.
        4. Movant is a secured creditor holding a promissory note ('Note') secured by a mortgage
     ('Mortgage') on property now owned by the Debtor(s) located at 5 N RAMONA ROAD,
     MYERSTOWN, PA 17067.
        5. The mortgage executed by ERIC M PYSHER on November 5, 2014 and has been
     recorded in Official Record Book 2204 at Page 1615, of the Public Records of Lebanon County,
     PA of a secured claim against Debtor(s), pursuant to a Promissory Note executed by ERIC M
     PYSHER. The mortgage was subsequently assigned to WELLS FARGO BANK, N.A. by
     Assignment recorded in O.R. Book 2236, at Page 2975. A copy of the loan documents are
     attached hereto as Exhibits "A" and made a part hereof which constitutes a lien upon real
     property more particularly described as follows:
             ALL THOSE TWO CONTIGUOUS TRACTS OF LAND SITUATE IN THE
             TOWNSHIP OF JACKSON, COUNTY OF LEBANON AND STATE OF
             PENNSYLVANIA, BEING RESPECTVELY BOUNDED AND DESCRIBED AS
             FOLLOWS, TO WIT:
             TRACT NO. 1
             BEGINNING AT A POINT IN THE MIDDLE OF A ROAD LEADING TO MR.
             AETNA, APPROXIMATELY TWO HUNDRED AND NINETY FEET (290)
             NORTH OF THE INTERSECTION OF SAID ROAD WITH MIDDLE OF
             PENNSYLVANIA ROUTE #422; THENCE NORTH THREE AND ONE-HLAF
             DEGREE WEST (N. 3 1/2 DEGREE W) FIFTY-TWO AND ONE-HALF FEET (52
             1/2) ALONG THE MIDDLE OF THE MT. AETNA ROAD TO A PIN; THENCE
             SOUTH EIGHTY-SIX AND ONE-HALF DEGREES WEST (S. 86 1/2 DEGREES
             W) TWO HUNDRED FEET (200) ALONG LAND LATE OF GEORGE S. ROSS,
             BEING TRACT NO. 2 HEREIN, TO A STAKE; THENCE ALONG OTHER
             LAND OF THE SAID GEORGE S. ROSS, SOUTH THREE AND ONE-HALF
             DEGREES EAST (S. 3 1/2 DEGREES E) FIFTY-TWO AND ONE-HALF FEET
             (52 1/2) TO A STAKE; THENCE ALONG LAND NOW OR LATE OF GEORGE
             S. ROSS NORTH EIGHTY-SIX AND ONE-HALF DEGREES EAST (N. 86 1/2
             DEGREES E) TWO HUNDRED FEET (200) TO THE PLACE OF BEGINNING.
             CONTAINING 241/1000 OF AN ACRE.
             TRACT NO. 2
             BEGINNING AT A POINT IN THE MIDDLE OF ROAD LEADING TO MT.
             AETNA APPROXIMATELY THREE HUNDRED AND FORTY FEET (340)
             NORTH OF THE INTERSECTION OF SAID ROAD WITH MIDDLE OF
             PENNSYLVANIA ROUTE #442; THENCE NORTH THREE AND ONE-HALF
             DEGREES WEST (N. 3 1/2 DEGREES W) TWENTY FEET (20) ALONG THE
             MIDDLE OF MT. AETNA ROAD TO PIN; THENCE SOUTH EIGHTY-SIX AND
             ONE-HALF DEGREES WEST (S. 86 1/2 DEGREES W) TWO HUNDRED FEET
             (200) ALONG OTHER LAND NOW OR LATE OF HENRY H. HACKER AND

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             WIFE, TO A STAKE; THENCE ALONG LAND OF GEORGE S. ROSS SOUTH
             THREE AND ONE-HALF DEGREES EAST (S. 3 1/2 DEGREES E) TWENTY
             FEET (20) TO A STAKE; THENCE ALONG LAND LATE OF GEORGE S. ROSS,
             NOW TRACT NO. 1 HEREIN, NORTH EIGHTY-SIX AND ONE-HALF
             DEGREES EAST (N. 86 1/2 DEGREES E) TWO HUNDRED FEET (200) TO THE
             PLACE OF BEGINNING.

             a/k/a 5 N RAMONA ROAD, MYERSTOWN, PA 17067


        6. Pursuant to Debtors Statement of Intention filed with the Petition in this case, Debtor is
     surrendering the subject property.
        7. Pursuant to Debtors Schedule C, the property has not been claimed exempt.
        8. As of the filing of this motion, the Trustee has not filed a Report of No Distribution.
        9. Movant respectfully requests the court to permit Movant to offer and provide Debtor(s)
     with information regarding a potential Forbearance Agreement, Loan Modification, Refinance
     Agreement, or other Loan Workout/Loss Mitigation Agreement, and furthermore, to enter into
     such agreement with Debtor(s).
        10. Therefore, Movant request an Order confirming the Automatic Stay is terminated under
     11 U.S.C. § 362(c).
             WHEREFORE Movant prays this Court Movant respectfully requests the entry of an
     order confirming the automatic stay is not in effect, and for such further relief as the Court may
     deem just and proper.

                                                   EXL Legal, PLLC
                                                   Email Address: bk@exllegal.com
                                                   12425 28th Street North, Suite 200
                                                   St. Petersburg, FL 33716
                                                   Telephone No. (727) 536-4911
                                                   Attorney for the Movant

                                                   By: /s/ Alejandro G. Martinez-Maldonado
                                                   Alejandro G. Martinez-Maldonado
                                                   FL BAR # 108112




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on June 19,
2019, by U.S. Mail and/or electronic mail via CM/ECF to:

JOEL L GROSS, ESQ.
655 WEST HIGHWAY 50
SUITE 101
CLERMONT, FL 34711

RICHARD B. WEBBER, TRUSTEE
PO BOX 3000
ORLANDO, FL 32802

UNITED STATES TRUSTEE - ORL7/13
GEORGE C. YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FL 32801

       The parties identified below were served on June 19, 2019 by U.S. Mail.

ERIC MICHAEL PYSHER
16412 NELSON PARK DR APT 308
CLERMONT, FL 34714

STEPHANIE LYNN PYSHER
16412 NELSON PARK DR APT 308
CLERMONT, FL 34714

                                                   EXL Legal, PLLC
                                                   Email Address: bk@exllegal.com
                                                   12425 28th Street North, Suite 200
                                                   St. Petersburg, FL 33716
                                                   Telephone No. (727) 536-4911
                                                   Attorney for the Movant

                                                   By: /s/ Alejandro G. Martinez-Maldonado
                                                   Alejandro G. Martinez-Maldonado
                                                   FL BAR # 108112




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